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                 IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE DISTRICT OF SOUTH CAROLINA
                             GREENVILLE DIVISION


UNITED STATES OF AMERICA,                        )   CIVIL ACTION NO.:
                                                 )
                                                 )
                Plaintiff,                       )
                                                 )
                vs.                              )
                                                 )
                                                 )
726,602.61971034 TETHER CRYPTO                   )
       CURRENCY (USDT),                          )
                                                 )
                Defendant in Rem.                )



             UNITED STATES= COMPLAINT FOR FORFEITURE IN REM

        The Plaintiff, United States of America, brings this complaint and alleges as

follows, in accordance with Rule G(2) of the Supplemental Rules for Admiralty and

Maritime Claims and Asset Forfeiture Actions.

                              NATURE OF THE ACTION

1.      This is a civil action in rem to forfeit to the United States of America funds in the

amount of 726,602.61971034 Tether Crypto Currency (“USDT”) (“Defendant Funds”),

pursuant to 18 U.S.C. ' 981(a)(1)(A) and 18 U.S.C. ' 981(a)(1)(C). The United States

seeks forfeiture based upon a reasonable belief that the Government will be able to meet

its burden of proof at trial to show that the Defendant Funds constitutes, or is traceable to:

        a.      property involved in wire fraud transactions or attempted wire fraud

                transactions in violation of 18 U.S.C. § 1343
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        b.     property involved in money laundering transactions or attempted

               transactions in violation of 18 U.S.C. ' 1956(a)(1)(A)(i), and/or

               ' 1956(a)(1)(B)(i) and/or 1957;

        c.     property involved in an illegal money transmitting business, in violation of

               18 U.S.C. ' 1960; and/or

        d.     proceeds of some other form of specified illegal activity set forth in 18

               U.S.C. ' 1956(c)(7) and;

        e.     proceeds of some other form of specified illegal activity set forth in 18

               U.S.C. ' 1956(h) and;

        f.     property involved in money transactions in criminally derived property or

               attempted money transactions, in violation of 18 U.S.C. § 1957.



                             JURISDICTION AND VENUE

2.      This Court has subject matter jurisdiction over an action commenced by the United

States pursuant to 28 U.S.C. ' 1345, and over an action for forfeiture by virtue of 28 U.S.C.

' 1355. This Court has in rem jurisdiction over the Defendant Funds pursuant to:

        (a)    28 U.S.C. ' 1355(b)(1)(A), because acts or omissions giving rise to the

               forfeiture occurred in the District of South Carolina; and

        (b)    28 U.S.C. ' 1355(b)(1)(B), because venue properly lies in this district

               pursuant to 28 U.S.C. ' 1395.

                              THE DEFENDANT IN REM


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3.      The Defendant Funds consists of 726,602.61971034 USDT valued at

approximately $726,602.62 in United States Currency, obtained by agents with the United

States Secret Service (“USSS”) during an investigation into a transnational criminal

organization running an exploitation of elderly and social engineering scam. The funds

were seized from a cryptocurrency custodial wallet under the control of Binance, identified

by account number xxxxx2777 (the “Suspect Wallet 2”) and under the name of Manprett

Singh (“Singh”).

4.      The USSS seized the 726,602.61971034 USDT, for federal forfeiture.               The

Defendant Funds are currently restrained and pending deposit to an account under the

control of United States Secret Service.

5.      In accordance with the provisions of 19 U.S.C. ' 1606, the Defendant Funds have

a total domestic value of approximately $726,602.62 in United States Currency.

                         KNOWN POTENTIAL CLAIMANTS

6.      The known individual whose interests may be affected by this litigation are:

        a.     Manprett Singh who may have an interest in the Defendant Funds because

               he was the named account holder of the account seized by USSS during this

               investigation.



                                BASIS FOR FORFEITURE

7.      Pursuant to the pleading requirements of Supplemental Rule G(2)(f), Plaintiff

alleges that there is a factual basis to support a reasonable belief that the Government will


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be able to meet its burden of proof at trial to show that the Defendant Funds are subject to

forfeiture to the United States, based in part upon the following:

       a.      USSS and local law enforcement agencies were investigating a

       transnational criminal organization running an exploitation of elderly and social

       engineering scam. In summary, investigating agents determined that a scamming

       group has been using social engineering to contact elderly individuals and convince

       them that their bank accounts are compromised. Once the scammers have

       engagement from the victim, they instruct them that their bank accounts are

       compromised and that they need to put their funds in a secure location while they

       investigate. The victims then withdraw their funds in cash and take it to a BTC

       Automated Teller Machine (“ATM”). From that ATM, the funds are sent to a

       cryptocurrency wallet address provided by the suspects.

       b.      Digital currency (also known as virtual currency or cryptocurrency) 1 is

       generally defined as an electronic-sourced unit of value that can be used as a

       substitute for fiat currency (i.e., currency created and regulated by a government).

       Digital currencies exhibit properties similar to other currencies, but do not have a

       physical form, existing entirely on the internet. Digital currency is not issued by

       any government or bank (in contrast with fiat or conventional currencies) and is

       instead generated and controlled through computer software operating on a



1
  For purposes of this complaint, the terms "digital currency," "cryptocurrency," and
"virtual currency" are used interchangeably and address the same concept.

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   decentralized peer-to-peer network, often referred to as the blockchain or public

   ledger. Digital currency is legal in the United States and accepted for legitimate

   financial transactions. However, digital currency is often used for conducting

   illegal transactions or for concealing or disguising the true nature, source, location,

   ownership, or control of illegally obtained proceeds. Bitcoin ("BTC") is one of the

   most commonly used and well-known digital currencies. Ethereum ("ETH") is

   another popular and commonly used digital currency.

   c.      A stablecoin is a digital currency whose market value is attached to or

   "pegged" to another stable asset. Differing from normal digital currencies, the value

   of stablecoins are pegged to assets such as fiat currencies like the United States

   Dollar ("USD") or the Euro, or other types of assets like precious metals or other

   digital currencies. Stablecoins are thus used to mitigate the volatility in the price of

   digital currency by mimicking the value of a fiat currency, without converting

   digital currency into fiat. While there are various legitimate uses for stablecoins,

   they are popular with cyber-criminals who seek to hold digital currency

   proceeds of crime at a stable or near-fixed value without moving those funds into

   the legitimate financial system into a fiat currency such as USD. Some examples of

   stablecoins include:

           a. Tether (USDT) was developed by Tether Limited Inc. and is designed

               to maintain its value at $1.00 USD. USDT can utilize the existing ETH

               blockchain or the newer TRON ("TRX") blockchain.


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          b. Binance USD (BUSD), which was developed by Binance Holdings

              Limited and Paxos Trust Company, LLC, is designed to maintain its

              value at $1.00 USD. BUSD utilizes the existing ETH blockchain.

   d.     A digital currency exchange (an "exchange") is a business that allows

   customers to trade digital currencies for other digital or fiat currencies. An

   exchange can be a brick-and-mortar business, or strictly an online business. Both

   brick and mortar and online exchanges accept a wide variety of digital currencies,

   and exchange them for fiat and traditional payment methods, other digital

   currencies, or transfers between digital currency owners. Most exchanges are

   located outside the boundaries of the United States in order to avoid regulation and

   legal requirements, but some popular exchanges operate inside the jurisdiction of

   the United States. Binance is an example of a popular online exchange that is

   located outside of the United States but cooperates with and accepts legal process

   from American law enforcement agencies.

   e.     A wallet is a means of storing digital currency identified by unique

   electronic addresses that allows an individual to conduct transactions on the public

   ledger. To access a wallet on the public ledger, an individual must use a public

   address (or "public key") and a private address (or "private key"). The public

   address can be analogized to an account number while the private address is similar

   to a password used to access that account. Even though the public address of those

   engaging in digital currency transactions are recorded on the public ledger, the true


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   identities of the individuals or entities behind the public address are not recorded.

   If a real individual or entity is linked to a public address, however, it may be

   possible to determine what transactions were conducted by that individual or entity.

   Therefore, digital transactions are often described as "pseudonymous," meaning

   they are partially anonymous. Most individuals are identified when they use a

   digital currency exchanger to make a transaction between digital currency and fiat,

   or through digital currency exchangers that voluntarily or through legal order,

   cooperate with law enforcement.

   f.     What is common across many exploitations of the elderly and elder abuse

   cases when it comes to cryptocurrency, is that they initially contact the victim from

   a point of perceived authority to the victim. They do this through email, text

   message, and sometimes computer access through a point of compromise such as a

   virus or clicking a fraudulent link. This can be as sophisticated as impersonating

   law enforcement or purporting to be from their bank’s corporate security. Once the

   suspect engages with the victims, they often request that they hide or lie about their

   actions as to not raise suspicion from actual authorities. From this point, they

   convince the victim to withdraw their own funds from their accounts and forward

   it to the suspect through various means. A common method it is to have the victim

   deposit cash into a Bitcoin ATM and send the transaction to a wallet address

   provided to the victim.




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   g.     On or about August 8, 2022, F.W., an 80-year-old resident of Greenville,

   S.C. received a text message stating she had just purchased a $600.00 Samsung

   smart phone and that if this was not a purchase she made, to contact the number

   provided. F.W. contacted the number and spoke with a male named "Neil" who

   spoke with a deep accent. The person on the phone instructed F.W. that her bank

   account at Truist Bank had been compromised and that he would help her store it

   in a secure account while they investigated. He instructed her to travel to her bank

   and withdraw $20,000.00, and if the teller questioned her, to say that it was for

   home renovations as he warned that an employee at the bank may be involved in

   the account being compromised.

   h.     F.W. traveled to her bank and withdrew $20,000.00 in cash. She was then

   instructed to go to the Circle K/Marathon gas station at 820 South Church Street

   and go to a Bitcoin ATM machine. From there she deposited the maximum amount

   allowable of $15,000.00 and sent it to the cryptocurrency wallet address provided

   by the scammer. This wallet address is xxxxxxxxxxxxxxxxxxxxxxxxxxxxxK7Zg

   ("Suspect Wallet 1"). Once the victims sent the BTC to the wallet address provided,

   the suspect cut off all further communication.

   i.     Special Agent (“SA”) Joseph Lea (“Lea”) reviewed transaction history for

   digital currency wallet Suspect Wallet 1 in a commercial blockchain analysis

   platform. Below is a summary of his review:

          (1)    On August 8, 2022, at 21:20:43 hours 0.50069530 BTC was


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                          deposited      into    the     wallet     via     transaction     ID:

                          f69438804e58dld7fab4cbb9084741d7d1234eb6f2d5d0f46lffa4a428

                          b6a88b. Based on SA Lea’s experience and information from the

                          victim, he believed this deposit was from F.W. and matched the

                          receipt the victim received from the BTC ATM and turned over to

                          the Greenville Police Department.

            j.     Based on this incident, SA Lea learned that on or about March 4, 2022,

            B.W., a 76-year-old resident of California was on her home computer with it began

            to glitch and a message popped up on the screen indicating that her Apple account

            had been compromised and she needed ·to call in to speak to a security manager.

            B.W. contacted the number and spoke with a male with a heavy accent. He

            instructed B.W. that her account had been compromised and that she needed to get

            her funds into a secure account. At the suspect’s direction, she withdrew $10,000.00

            dollars and made deposits into Suspects Wallet 1 and another unidentified wallet in

            two transactions between March 4, 2022, and March 5, 2022.

                       (1) SA Lea reviewed transaction history for Suspect Wallet 1 in a

                       commercial blockchain analysis platform·. These transactions are

                       detailed below:

                                                                            2022-03-05
0.02595776 18d7edb35eflb151clc729ddb176cl3a61ab9b02f2c73bbd85Sb2ceScac69c09 19:04:58
                                                                                              2022-03-05
0.03295144 0b2947fca2d3b9caceca4316ace44afe9fdc934c29de3c671dae4e8d03e38397                   19:04:57


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                                                                                            2022-03-05
0.05033321 886c53b7598b9bb0bbbbb2686009aclb4500942b0128ce1473180b8ed8ebefcf                 17:59:02


            k.     On or about June 23, 2022, M.R., a 72-year-old resident of Pennsylvania

            was on her home computer when a pop-up advised her that her Wells Fargo account

            had been compromised and she needed to call in to speak to a security manager.

            M.R. contacted the number and spoke with the supposed manager. He instructed

            M.R. that her account had been compromised and that she needed to get her funds

            into a secure account. At the suspect’s direction, she withdrew $10,100.00 dollars

            and made a deposit at a BTC ATM which deposited into Suspect Wallet 1.

                       (1) SA Lea reviewed transaction history for Suspect Wallet 1 in a

                       commercial blockchain analysis platform. On June 24, 2022, at

                       18:14:51 hours 0.42261794 BTC was deposited into the wallet via

                       transaction ID:

                       e8c4c7af34170f2e7950eld85d518194465c2a53b9fb076b3d58d77cd74

                       dd26d. This matched documentation provided by Hippo Kiosks, which

                       is the BTC ATM hosting company.

                       (2)          When first confronted by Hippo Kiosks, warning about

                       possible elderly scams, M.R. stated that she was using the money to

                       purchase a car. She later recanted and stated that she had been scammed

                       and was instructed by the scammer to say she was buying a car to avoid

                       suspicion.

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        l.     Based on reports filed by several BTC ATM hosting companies, SA Lea

        learned the following: to date there have been numerous other purported victims of

        this same type of fraud and that have sent funds to the same Suspect Wallet 1. These

        BTC ATM hosting companies have jointly reported approximately $500,000.00

        worth of possible fraud related to victims sending funds to Suspect Wallet 1.

        m.     At various times over the past several months, Suspect Wallet 1 received

        numerous deposits from victims. These transfers constituted the proceeds of wire

        fraud, money laundering and monetary transaction in criminally derived property.

        n.     On August 23, 2022, SA Lea reviewed transaction history in Suspect Wallet

        1 provided by the hosting exchange, Binance:

              (1)      Binance identified Avinash Pal as the account holder of Suspect

              Wallet 1. Between March 4, 2022, and August 8, 2022, Suspect Wallet 1

              received 744 deposits totaling approximately $2,318,448.90, and sent 96

              transactions totaling approximately $2,335,104.984. Of which, 55

              withdrawals     totaling   $1,991,123.80    USDT      go    out   to   wallet

              xxxxxxxxxxxxxxxxxxxxxxxxxxxxxx7y2G ("Burn Wallet l"). Burn Wallet

              l 2 is a wallet address on the TRON network, which is known as a "Privacy

              Coin" and is often used by fraudsters in an attempt to obscure the source,




2
  A burn wallet address is one that is specifically used as an intermediary wallet where the
funds come in and are comingled with other funds and then immediately sent out. This is
done to further obscure the location, nature, and source of the illicit funds.

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              nature, or ownership of the funds. Suspect Wallet 1 also has conducted 500

              Over The Counter 3 ("OTC") trades, totaling approximately $1,512,272.94.

              (2)     As it relates to tracing digital currency stolen from the victims

              discussed above, on March 5, 2022, between approximately 17:59 and 19:04

              UTC, Suspect Wallet 1 received 3 deposits from victim B.W. totaling

              0.10924241 BTC valued at approximately $5,000. Approximately 6 minutes

              later at 19:10 UTC, an OTC transaction occurred selling .05 BTC for

              approximately $2,328. No immediate withdrawals occurred from Suspect

              Wallet 1 that same day.

              (3)     On June 24, 2022, at approximately 18:14 UTC, Suspect Wallet 1

              received 1 deposit from victim M.R. totaling 0.42261794 BTC valued at

              approximately $10,100.00. Approximately 2 minutes later at 18:16 UTC, an

              OTC transaction occurred selling 0.42261794 BTC for approximately

              $8,876. The following day the first withdrawal since the OTC sale, at 08:47

              UTC, a withdrawal of $52794.99 USDT was made and sent to wallet address

              xxxxxxxxxxxxxxxxxxxxxxxxxxxxxx7y2G (Burn Wallet 1) The funds were

              then immediately transferred out through numerous wallets very quickly and

              comingled with other funds, into an unidentified wallet address.




3
  OTC trades occur when a user trades coins peer-to-peer. This is often done to obscure
the source of the funds and prevent the transaction from showing on the public block chain.

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              (4)    On August 08, 2022, at approximately 21:20 UTC, Suspect Wallet

              1 received 1 deposit from victim F.W. totaling 0.5006953 BTC valued at

              approximately $15,000.00. Approximately 4 minutes later 21:24 UTC, an

              OTC transaction occurred selling 0.5006953 BTC for approximately

              $11,925.87. The following day the first withdrawal since the OTC sale, at

              09:26 UTC, a withdrawal of $48,943.35 USDT was made and sent to wallet

              address xxxxxxxxxxxxxxxxxxxxxxxxxxxxxx7y2G (Burn Wallet 1). The

              funds were then immediately transferred out to two locations. The most

              immediate    and   direct   link   was   transfer   to   wallet   address

              xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxYPqx ("Burn Wallet 2"), where it was

              comingled with other funds and then immediately transferred to wallet

              xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxHKhh (“Suspect Wallet 2”).

        o.    Binance identified Manprett Singh, of Dubai, UAE as the account holder of

              Suspect Wallet 2, however, most access logs to Binance come from

              Mumbai, India. After funds were received by Singh, they are quickly

              transferred back out via the TRON network. This network is considered a

              “Privacy Coin” 4 network and is well known to be used by scammers as it

              is traceable by very few means. These transactions occurred quickly and

              were processed through numerous burn wallets, all with apparent intention



4
  A privacy coin and network are known throughout the criminal network and often used
in a further attempt to conceal transactions, sources and ownership of funds.

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          to obscure the location, source, and ownership of the funds. There is no

          reasonable business or other legitimate purpose to conduct transactions in

          this manner as stable coins to not increase in value and due to the cost and

          fees associated with these transactions.

    p.    Based on SA Lea’s training and experience, the agent concluded that

          Suspect Wallet 2 was used by the Subjects to receive proceeds from victims

          of wire fraud and to conceal or disguise the nature, the location, the source,

          the ownership, or the control of the proceeds obtained from the scam.

          Suspect Wallet 2 was used to facilitate the commission of the money

          laundering and monetary transaction in criminally derived property and

          Suspect Wallet 2 contained proceeds of the above offenses.

    q.    The Suspect Wallet 2 bears numerous red flags for a money laundering

          facilitation account, namely:

                 (1)     The volume of transactions in the Suspect Wallet 2 is highly

                         suspicious, with more than $10 million in USD equivalent of

                         digital currency moved through the wallet associated with

                         the Suspect Wallet 2 in less than a month and a half;

                 (2)     The Suspect Wallet 2 does not appear to hold digital

                         currency for long, instead rapidly receiving and then

                         retransmitting digital currency, and often in the form of

                         stablecoins;


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                 (3)     The Suspect Wallet 2 does not appear to be engaged in any

                         investment activity, as digital currency is rapidly moved in

                         and out, and stablecoins are designed not to increase in value

                         greater than the USD;

                 (4)     While these amounts might be unsurprising in a commercial

                         or business account, the Subject Wallet 2 was opened as a

                         personal account with no identified associated business;

                 (5)     Public information searches for Singh do not identify any

                         legitimate businesses associated with Singh which would

                         justify a personal account receiving and sending these

                         volumes of digital currency; and

                 (6)     The transaction activity in the Suspect Wallet 2 appears

                         consistent with a "layering" account in a money laundering

                         scheme, where an account is used primarily to receive and

                         convert criminal proceeds before transmitting the proceed on

                         to another recipient, thus disguising the source of the

                         proceeds   and      frustrating   asset   recovery   and   law

                         enforcement.

    r.    Based on SA Lea’s investigation, records provided by Binance, and Special

          Agent Lea’s training and experience, the government believes Suspect

          Wallet 1 and Suspect Wallet 2 was used by Avinash Pal and Manprett Singh


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               primarily to receive proceeds of elderly abuse scams involving digital

               currency stolen from victims and to conceal or disguise the nature, the

               location, the source, the ownership, or the control of the proceeds obtained

               from the scam. The Suspect Wallet 2 was used to facilitate the commission

               of wire fraud, money laundering and monetary transactions in criminally

               derived property and contains proceeds of wire fraud, money laundering

               and monetary transactions in criminally derived property of USDT.

       s.      A federal seizure warrant was executed for the Suspect Wallet 2, under the

               control of Binance, on September 01, 2022, by SA Lea.

8.     Based on the information and allegations set forth herein, there is a factual basis to

support a reasonable belief that the Government will be able to meet its burden of proof at

trial to show that the Defendant Funds constitutes, or is traceable to:

       b.      property involved in wire fraud transactions or attempted wire fraud

               transactions in violation of 18 U.S.C. § 1343

       b.      property involved in money laundering transactions or attempted

               transactions in violation of 18 U.S.C. ' 1956(a)(1)(A)(i), and/or

               ' 1956(a)(1)(B)(i) and/or 1957;

       c.      property involved in an illegal money transmitting business, in violation of

               18 U.S.C. ' 1960; and/or

       d.      proceeds of some other form of specified illegal activity set forth in 18

               U.S.C. ' 1956(c)(7) and;


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       e.      proceeds of some other form of specified illegal activity set forth in 18

               U.S.C. ' 1956(h) and;

       f.      property involved in money transactions in criminally derived property, in

               violation of 18 U.S.C. § 1957

                                       CONCLUSION

10.    By reason of these premises, and pursuant to 18 U.S.C. ' 981(f) and 21 U.S.C. '

881(h), whereby the Plaintiff's right, title and interest in and to the Defendant Funds relates

back to the commission of the act giving rise to the forfeiture, the Defendant Funds has

become and is forfeited to the United States of America, to be disposed of pursuant to

Supplemental Rule G(7)(c) for Admiralty or Maritime Claims and Asset Forfeiture

Actions, 18 U.S.C. ' 981(d), 21 U.S.C. ' 881(e), and other applicable laws.

       WHEREFORE, Plaintiff prays that due process issue to enforce the forfeiture of

the Defendant Funds, in rem; that a Warrant for the Arrest of the Defendant Funds be

issued; that due Notice be given to all interested persons to appear, make claim, answer

and show cause why the forfeiture should not be decreed; that the Defendant Funds be

decreed condemned and forfeited to the United States of America for disposition according

to law; and that Plaintiff have such other and further relief as the Court may deem just and

proper, together with the costs and disbursements of this action.



                                               Respectfully submitted,

                                               Adair F. Boroughs
                                               UNITED STATES ATTORNEY

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                                    By:     s/Carrie Fisher Sherard
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September 26, 2022




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